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     Telephone:(916) 557-1113
 3
     Attorney for defendant
 4   MICHAEL CORSBIE

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 8
                         UNITED STATES DISTRICT COURT
 9
                        EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,           No.   11-CR-00036 WBS
12
                  Plaintiff,
13
          v.                             STIPULATION AND [PROPOSED] ORDER
14                                       TO CONTINUE ADMIT OR DENY
     MICHAEL CORSBIE,                    HEARING
15
                  Defendant.
16

17        The defendant, Michael Corsbie, through his undersigned

18   counsel and the United States, through its undersigned counsel,

19   hereby agree and request that the admit or deny hearing,

20   currently set for Monday, January 6, 2014        at 9:30 am, be vacated

21   and continued until Tuesday, January 21, 2014 at 9:30 am.        USPO

22   White has been informed and has no objection.

23        A continuance is necessary because counsel is currently ill

24   and needs additional time for further discussions with his client

25   and case preparation.

26        I, William E. Bonham, the filing party, have received

27   authorization from AUSA Sherry Haus to sign and submit this

28   stipulation and proposed order on her behalf.
                                         1
      Case 2:11-cr-00036-WBS Document 64 Filed 01/06/14 Page 2 of 3


 1        Accordingly, the defense and the United States stipulate

 2   that the admit or deny hearing for defendant, Michael Corsbie be

 3   continued until Tuesday, January 21, 2014 at 9:30 am.

 4   Dated: January 3, 2014                  BENJAMIN B. WAGNER
                                             United States Attorney
 5

 6                                           By:/s/ WILLIAM BONHAM for
                                             SHERRY HAUS
 7                                           Assistant U.S. Attorney

 8
     Dated: January 3, 2014                  By:/s/ WILLIAM BONHAM for
 9                                           WILLIAM BONHAM
                                             Counsel for defendant
10                                           Michael Corsbie
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      Case 2:11-cr-00036-WBS Document 64 Filed 01/06/14 Page 3 of 3


 1                                     ORDER

 2        IT IS SO ORDERED.     The admit or deny hearing currently set

 3   for Monday, January 6, 2014 is vacated and continued to Tuesday,

 4   January 21, 2014 at 9:30 am.

 5   Dated:   January 3, 2014
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